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 8                           UNITED STATES DISTRICT COURT

 9                         NORTHERN DISTRICT OF CALIFORNIA

10

11   IN RE CAPACITORS ANTITRUST                Master Case No. 3:14-cv-03264-JD
     LITIGATION
12                                             [PROPOSED] ORDER GRANTING
13   This document relates to ALL DIRECT       COUNSEL’S MOTION FOR ATTORNEYS’
     PURCHASER ACTIONS                         FEES AND REIMBURSEMENT OF
14                                             EXPENSES

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 1            This matter is before the Court on Direct Purchaser Class Counsel’s application for Attorneys’

 2   Fees and Reimbursement of Expenses (“Motion”) made in connection with DPPs’ Motion for Final

 3   Approval of Settlements with Fujitsu Limited, NEC TOKIN Corporation, NEC TOKIN America, Inc.,

 4   Nitsuko Electronics Corporation, Okaya Electric Industries Co., Ltd. and Okaya Electric America, Inc.,

 5   ROHM Co., Ltd., and ROHM Semiconductor U.S.A., LLC (the “Settling Defendants”) (Dkt. 1458).

 6            The Settlements total $32,600,000 in cash and secure agreements by each of the five Settling

 7   Defendants to cooperate in the DPPs’ continued prosecution of their claims against the non-settling

 8   Defendants—are the first in this litigation since its inception over two and a half years ago.

 9            Counsel for the Direct Purchaser Class submit this motion for attorneys’ fees seeking an award

10   in the amounts of $8,150,000 for fees accrued as of September 30, 2016, and $3,000,000 for costs

11   advanced on behalf of the Class during the same period. As is reflected in Counsel’s submission, their

12   cumulative lodestar and costs as of September 30, 2016 greatly exceed the compensation they seek in

13   this Motion.

14            Upon consideration of Direct Purchaser Plaintiff Counsel’s Motion, Lead Class Counsel’s

15   supporting declaration concurrently filed therewith, all other papers in the Court’s files, and the

16   argument at the March 2, 2017 hearing, the Court finds the following and grants Direct Purchaser

17   Plaintiff Counsel’s Motion.

18   I.       LEGAL STANDARD

19            A.       Attorneys’ Fees
20            Attorneys may recover reasonable attorneys’ fees from a common fund settlement they secure

21   on behalf of a class. The Supreme Court has explained that “a lawyer who recovers a common fund for

22   the benefit of persons other than himself or his client is entitled to a reasonable attorney’s fee from the

23   fund as a whole.” Boeing Co. v. Van Gemert, 444 U.S. 472, 478 (1980); see also Mills v. Elec. Auto-Lite Co.,

24   396 U.S. 375, 393 (1970); Central R.R. & Banking Co. v. Pettus, 113 U.S. 116, 123 (1885) (“where one or

25   more of many parties having a common interest in a trust fund takes, at his own expense, proper

26   proceedings to save it from destruction and to restore it to the purposes of the trust, he is entitled to

27   reimbursement either out of the fund itself or by a proportional contribution from those who accept the

28   benefit of his efforts”). “The rationale behind awarding a percentage of the fund to counsel in common
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 1   fund cases is the same that justifies permitting contingency fee arrangements in general. . . . The

 2   underlying premise is the existence of risk—the contingent risk of non-payment.” In re Quantum Health

 3   Resources, Inc. Sec. Litig., 962 F. Supp. 1254, 1257 (C.D. Cal. 1997) (emphasis in original). In addition,

 4   attorneys’ fees are awarded as a means of ensuring the beneficiaries of a common fund share with those

 5   whose labors created the fund. See In re Washington Pub. Power Supply Sys. Sec. Litig., 19 F.3d 1291, 1300

 6   (9th Cir. 1994) (“WPPSS”) (“those who benefit from the creation of the fund should share the wealth

 7   with the lawyers whose skill and effort helped create it.”).

 8            B.       Costs Reimbursement
 9            Counsel may also obtain reimbursement for costs from a common fund settlement. In re Media

10   Vision Tech. Sec. Litig., 913 F. Supp. 1362, 1366 (N.D. Cal. 1995) (“Reasonable costs and expenses

11   incurred by an attorney who creates or preserves a common fund are reimbursed proportionately by

12   those class members who benefit by the settlement.”) (citing, inter alia, Mills v. Electric Auto-Lite Co.,

13   396 U.S. 375, 391-92 (1970)); see also Wolph v. Acer Am. Corp., 2013 U.S. Dist. LEXIS 151180, at

14   *18 (N.D. Cal. Oct. 21, 2013) (“Counsel are entitled to reimbursement of their reasonable out-of-

15   pocket expenses.”). “The prevailing view is that expenses are awarded in addition to the fee

16   percentage.” Williams v. SuperShuttle Int’l, Inc., No. 12-CV-06493-WHO, 2015 U.S. Dist. LEXIS 19341,

17   at *6 (N.D. Cal. Feb. 12, 2015) (citations omitted).

18   II.      THE COURT AWARDS DPPS’ COUNSEL $8,150,000 —25 PERCENT OF THE
              FUND—AS PARTIAL PAYMENT OF THEIR FEES ACCRUED AS OF SEPTEMBER
19            30, 2016

20            A.       The Percentage-of-the-Fund Method for Calculating Fees Is Appropriate Here
21            District courts in the Ninth Circuit use either the “percentage-of-the-fund” or the “lodestar”

22   method in calculating fees in common fund settlements. Fischel v. Equitable Life Assur. Soc’y, 307 F.3d

23   997, 1006 (9th Cir. 2002) (“In a common fund case, the district court has discretion to apply either the

24   lodestar method or the percentage-of-the-fund method in calculating a fee award.”). Using either

25   method, the ultimate inquiry is whether the end result is reasonable. Powers v. Eichen, 229 F.3d 1249,

26   1258 (9th Cir. 2000).

27            The percentage-of-the-fund method is preferred when counsel’s efforts have created a common

28   fund for the benefit of the class. “The use of the percentage-of-the-fund method in common-fund cases
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 1   is the prevailing practice in the Ninth Circuit for awarding attorneys’fees and permits the Court to focus

 2   on a showing that a fund conferring benefits on a class was created through the efforts of plaintiffs'

 3   counsel.” In re Korean Air Lines Co., Antitrust Litig., 2013 U.S. Dist. LEXIS 186262, at *3 (C.D. Cal.

 4   Dec. 23, 2013); see also Bellinghausen v. Tractor Supply Co., 2015 U.S. Dist. LEXIS 35266, at *33 (N.D.

 5   Cal. Mar. 19, 2015) (“Because this case involves a common settlement fund with an easily quantifiable

 6   benefit to the class, the Court will primarily determine attorneys’ fees using the benchmark method but

 7   will incorporate a lodestar cross-check to ensure the reasonableness of the award.”) (emphasis added).

 8           Where there is an easily quantifiable benefit to the class—namely, the cash recovery achieved

 9   through the settlement—the percentage of the fund approach is appropriate. See In re Bluetooth Headset

10   Prods. Liab. Litig., 654 F.3d 935, 942 (9th Cir. 2011) (“Because the benefit to the class is easily quantified

11   in common-fund settlements, we have allowed courts to award attorneys a percentage of the common

12   fund in lieu of the often more time-consuming task of calculating the lodestar.”).

13           Courts supervising antitrust cases in this District regularly apply the percentage of the fund

14   approach. See, e.g., In re TFT-LCD (Flat Panel) Antitrust Litig., No. 07-1827 (N.D. Cal. January 14,

15   2013); Meijer v. Abbott Laboratories, No. 07-05985 (N.D. Cal. Aug. 11, 2011); Ross v. U.S. Nat’l Ass’n,

16   No. 07-02951, 2010 U.S. Dist. LEXIS 107857, at *4-5 (N.D. Cal. Sept 29, 2010); In re CV Therapeutics,

17   Inc. Secs. Litig., No. 03-3709, 2007 U.S. Dist. LEXIS 98244, at *2 (N.D. Cal. April 4, 2007); In re

18   Dynamic Random Access Memory (DRAM) Antitrust Litig., No. M-02-1486, 2007 U.S. Dist. LEXIS

19   103027, at *1-2 (N.D. Cal. Aug. 16, 2007); In re Sorbates Direct Purchaser Antitrust Litig., No. 98-4886,

20   2002 U.S. Dist. LEXIS 23468, at *9-10 (N.D. Cal. Nov. 15, 2002); Van Vranken v. ARCO, 901 F. Supp.

21   294, 298 (N.D. Cal. 1995). The Court should do so as well here.

22           Courts in the Ninth Circuit applying the “percentage of the fund” approach use a twenty-five

23   percent benchmark. See Paul, Johnson, Alston & Hunt v. Granulty, 886 F.2d 268, 272 (9th Cir. 1989). See

24   also In re Online DVD-Rental Antitrust Litig., 779 F.3d 934, 949 (9th Cir. 2015) (“Under the percentage-

25   of-recovery method, the attorneys’ fees equal some percentage of the common settlement fund; in this

26   circuit, the benchmark percentage is 25%”).

27           Selection of the benchmark or any other rate, however, must be supported by findings that take

28   into account all of the circumstances of the case. Vizcaino v. Microsoft Corp., 290 F.3d 1043, 1048 (9th
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 1   Cir. 2002). The benchmark is subject to adjustment—upward or downward—based on the Court’s

 2   analysis of the factors the Ninth Circuit considered in Vizcaino: (1) the results achieved for the class; (2)

 3   the complexity of the case and the risk of and expense to counsel of litigating it; (3) the skill, experience,

 4   and performance of counsel on both sides; (4) the contingent nature of the fee; and (5) fees awarded in

 5   comparable cases. See id. at 1048-50. See also In re Cathode Ray Tube (CRT) Antitrust Litig., No. MDL

 6   No. 1917, 2016 U.S. Dist. LEXIS 102408, at *62-69 (N.D. Cal. Aug. 3, 2016) (applying the Vizcaino

 7   factors on indirect purchaser class counsel’s fee motion); In re: Cathode Ray Tube (CRT) Antitrust Litig.,

 8   No. MDL No. 1917, 2016 U.S. Dist. LEXIS 5383, at *171-74 (N.D. Cal. Jan. 14, 2016) (same) (direct

 9   purchaser class counsel’s fee motion); In re Dynamic Random Access Memory (DRAM) Antitrust Litig.,

10   No. M-02-1486-PJH, 2013 U.S. Dist. LEXIS 190974, at *116-74 (N.D. Cal. Oct. 30, 2013) (“DRAM”)

11   (same).

12             B.     The Vizcaino Factors Warrant Granting Counsel’s Fee Request
13             Here, each of the Vizcaino factors weighs in favor of awarding the requested $8,150,000, which

14   is twenty-five percent of the total Settlement Fund ($32,600,000) and thus equal to the Ninth Circuit’s

15   benchmark. Counsel’s Motion requests the benchmark amount from these Settlements. As set forth

16   below, the Court finds it is appropriate here to award Direct Purchaser Plaintiffs Counsel’s request for

17   an award matching this circuit’s benchmark.

18                    1.        Counsel Obtained an Exceptional Result for the Direct Purchaser Class
                                With The Settlements.
19
               The most important factor is the result achieved for the class. In re Cathode Ray Tube (CRT)
20
     Antitrust Litig., 2016 U.S. Dist. LEXIS 102408, at *63 (citing In re Omnivision Techs., Inc., 559 F. Supp.
21
     2d 1036, 1046 (N.D. Cal. 2008). These five Settlements—the first ones in the consolidated Direct
22
     Purchaser Action—provide the Class with valuable monetary and non-monetary benefits.
23
               The Settling Defendants’ all-cash payments for the benefit of the Class together will total
24
     $32,600,000. This is a large amount of money relative to the Settling Defendants’ comparatively
25
     minimal individual and collective capacitor sales to U.S. purchasers between 2002 and 2014. DPPs
26
     estimate that all Defendants together sold more than $7 billion in capacitors to U.S. purchasers during
27
     that same period. See Dkt. 1458-1 at ¶ 85. The Settling Defendants are responsible for roughly $70
28
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 1   million—less than one percent—of the cartel’s United States sales. The Settlement Fund here

 2   represents a significant percentage of each Settling Defendant’s total U.S. sales during that period:

 3                   Fujitsu Limited agreed to pay DPPs $2,000,000. The parties estimate
                      that the company’s dissolved former subsidiary, Fujitsu Media Device
 4                    (“FMD”), sold less than $200,000 of capacitors to U.S. purchasers
                      between 2002 and its 2009 dissolution. The settlement consideration
 5                    here is more than ten times FMD’s entire relevant U.S. sales. See Dkt.
                      1458-1 at ¶ 86.
 6
                     NEC TOKIN agreed to pay DPPs $24,000,000. For purposes of its guilty
 7                    plea and sentencing on federal criminal price fixing charges, NEC
                      TOKIN estimated its U.S. capacitors sales from 2002 to 2014 totaled
 8                    $51,100,000. The settlement consideration here is 46.9% of NEC
                      TOKIN’s estimated relevant U.S. sales. See Dkt. 1458-1 at ¶ 87.
 9

10                   Nitsuko agreed to pay DPPs $1,100,000. The parties have estimated that
                      the company sold less than $100,000 of capacitors to U.S. purchasers
11                    between 2002 and 2014. The settlement consideration here is roughly 11
                      times Nitsuko’s entire relevant U.S. sales. See Dkt. 1458-1 at ¶ 88.
12

13                   The Okaya Defendants agreed to pay DPPs $3,650,000. Okaya has
                      represented that its sales to U.S. purchasers between 2002 to 2014 totaled
14                    close to $11,000,000. The settlement consideration here is approximately
                      33% of Okaya’s relevant U.S. sales. See Dkt. 1458-1 at ¶ 89.
15

16                   ROHM agreed to pay DPPs $1,850,000. DPPs estimate that ROHM had
                      approximately $7,000,000 in sales to U.S. purchasers between 2004 and
17                    2014. The settlement consideration here is 26.4% of ROHM’s relevant
                      U.S. sales. See Dkt. 1458-1 at ¶ 90.
18

19
             The Settlements’ monetary component—all cash—greatly benefits the Direct Purchaser Class
20
     by providing and, in fact, accelerating the Class’ chances for monetary recovery in this case through the
21
     claims administration process which will commence soon. See Dkt. 1458-1 at ¶ 91. Here, a substantial
22
     amount of money stands to be distributed to a relatively small Direct Purchaser Class. See id. at ¶ 83.
23
     There is a real value to Class members of receiving a cash distribution from the Settlements in the near
24
     term. In addition, given the number of Defendants in this action and the risk of treble damages at trial,
25
     these Settlements likely will encourage additional favorable settlements. See id. at ¶ 92.
26
             In addition to the monetary component, each of the Settling Defendants has agreed to provide
27
     substantial assistance to the class. The Settling Defendants each have agreed to cooperate with DPPs in
28
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 1   their continued prosecution of the Class’ claims against the Non-Settling Defendants. See Dkt. 1458-1 at

 2   ¶¶ 59-68. They agree to provide assistance such as giving attorney proffers regarding facts developed in

 3   their internal investigations, making key witnesses available for deposition or trial, and submitting

 4   declarations on key issues such as liability, impact, damages, and class certification. See Dkts. 1298-2 to

 5   3, 1298-8 to 10.

 6            The assistance the Settling Defendants have agreed to provide is a substantial class benefit

 7   because it will assist DPPs to maximize their monetary recovery against the Non-Settling Defendants.

 8   See Dkt. 1458-1 at ¶ 93. See DRAM, 2013 U.S. Dist. LEXIS 190974, at *143 (cooperation “was valuable

 9   in maximizing the monetary recovery against the other Defendants.”).

10                     2.        Counsel Took Significant Risks Prosecuting This Litigation.

11            Counsel assumed a significant risk in undertaking this litigation. See Dkt. 1458-1 at ¶¶ 79-82. All

12   understood the risk of contingency litigation and the fact that recovery is never guaranteed. They

13   committed their time, money and energy to the prosecution of a multi-year, international price-fixing

14   cartel case against 22 massive Defendant corporate families based almost entirely in Japan. See id. at ¶

15   80. This cartel case is complex, Complex antitrust cases like this one often take years to resolve through

16   settlement, trial, or appeal. See id. As the case has advanced, counsel have committed their time, money,

17   and energy to this litigation, while aware that certain Defendants have claimed poor financial health that

18   could ultimately impede or diminish recovery for the Class. See id. at ¶¶ 79-80. As is set forth in Lead

19   Class Counsel’s declaration, Direct Purchaser Plaintiffs’ Counsel have expended millions of dollars of

20   their time and incurred millions of dollars in expenses, all on a purely contingent basis. Counsel have

21   stated that they had to turn away case opportunities over the last two years to ensure that they could

22   keep dedicated to this case the resources needed to prosecute the Class’ claims. This entails substantial

23   risk. See id. at ¶ 82.

24            Counsel also incurred risk associated with having a parallel criminal proceeding, addressing the

25   impact of the FTAIA, and evaluating massive amounts of electronic transactional data necessary to

26   prove their case. Each of these risks weigh in favor of granting Counsel the requested fee award.

27

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 1                    3.        Advancing the Litigation to this Point and Obtaining the Settlements Has
                                Required Professional Skill.
 2

 3           The docket and the procedural history in this this case demonstrate Counsel’s expertise and the

 4   Direct Purchaser Plaintiffs’ successes to date. See Dkt. 1458-1. ¶¶ 18-78. Counsel have done much to

 5   effectively prosecute the Class’ claims, and to do so efficiently. Counsel have not come by their

 6   successes in this litigation easily. Defendants—including the Settling Defendants—have hired the best

 7   antitrust counsel money can buy to defend them against the Direct Purchaser Plaintiffs’ Sherman Act

 8   claims. See Barbosa v. Cargill Meat Solutions Corp., 297 F.R.D. 431, 449 (C.D. Cal. 2013) (“The quality

 9   of opposing counsel is important in evaluating the quality of Class Counsel’s work.”). Indeed, despite

10   guilty pleas, the Non-Settling Defendants maintain their innocence and contest liability.

11                    4.        Awards in Similar Complex Antitrust Cases Demonstrate That Class
                                Counsel Seek a Reasonable Fee Award.
12
             The requested award of $8,150,000 matches and is in keeping with the Ninth Circuit
13
     benchmark. See Paul, Johnson, Alston & Hunt, 886 F.2d at 272. Class Counsel’s request is modest when
14
     compared to percentages awarded plaintiffs’ counsel in other, arguably less complex and challenging
15
     antitrust cases in this District. See, e.g., In re TFT-LCD (Flat Panel) Antitrust Litig., No. 07-1827 (N.D.
16
     Cal. Jan. 14, 2013) (30%); Meijer v. Abbott Laboratories, No. 07-05985 (N.D. Cal. Aug. 11, 2011) (33
17
     1/3%). It is also consistent with the awards in many other comparable cases. See In re Dynamic Random
18
     Access Memory (DRAM) Antitrust Litig., No. M-02-1486, 2007 U.S. Dist. LEXIS 103027, at *1-2 (N.D.
19
     Cal. Aug. 16, 2007) (25%); In re Sorbates Direct Purchaser Antitrust Litig., No. 98-4886, 2002 U.S. Dist.
20
     LEXIS 23468, at *9-10 (N.D. Cal. Nov. 15, 2002) (25%); Van Vranken v. Atl. Richfield Co., 901 F. Supp.
21
     294, 298 (N.D. Cal. 1995) (25%). As these precedents demonstrate, twenty-five percent is easily
22
     consistent with recognized “market rates,” i.e., rates typically awarded in similar contingency fee cases
23
     in this District. See Vizcaino, 290 F.3d at 1050 ( “market rates” are a question of “lawyers’ reasonable
24
     expectations [for recovery of contingent fees], which are based on the circumstances of the case and the
25
     range of fee awards out of common funds of comparable size.”).
26
                      5.        Counsel Undertook a Significant Financial and Resource Burden in
27                              Prosecuting the Direct Purchaser Plaintiffs’ Claims.

28           Counsel have invested significant amounts of time, money, and resources in this case for well
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 1   over two years, as shown in their time and expense records. This litigation has required a significant

 2   devotion of Counsel’s resources for the last two years. The Court is well aware of the quality of legal

 3   work done by Counsel on behalf of the Direct Purchaser Plaintiffs. Under the active supervision of Lead

 4   Class Counsel, the firms have working closely together as an efficient team. See Dkt. 1458-1 at ¶¶ 12-16,

 5   38-52. Class Counsel have set forth for the Court the details regarding their contributions to this

 6   litigation in their declarations attached to Lead Class Counsel’s Declaration. See Dkt. 1458-1, Exs. 3-17

 7   at ¶ 3 in each declaration.

 8                     6.        A Lodestar Cross-Check Confirms That the Fees Sought by Class Counsel
                                 Are Reasonable.
 9
              A lodestar cross-check may be used to ensure that class counsel has done the work necessary to
10
     justify the fee sought. Vizcaino, 290 F.3d at 1050; see also In re Rite Aid Corp. Sec. Litig., 396 F.3d 294,
11
     306-07 (3d Cir. 2005) (“[T]he lodestar cross-check calculation need entail neither mathematical
12
     precision nor bean-counting. The district courts may rely on summaries submitted by the attorneys and
13
     need not review actual billing records.”) (citation omitted).
14
              Counsel’s cumulative lodestar as of September 30, 2016 is $44,444,689.40. See Dkt. 1458-1, ¶¶
15
     8, 94-119 and Exs. 1-17. Using the lodestar cross-check, the fees sought here amount to less than one-
16
     fifth (approximately 18.4%) the lodestar submitted by Counsel. In the Ninth Circuit, a lodestar multiplier
17
     of around 4 times has frequently been awarded in common fund cases such as this. See Vizcaino, 290
18
     F.3d at 1051 (multiplier of 3.65 held “ within the range of multipliers applied in common fund cases”);
19
     see also Atlantic Richfield Co., 901 F. Supp. at 298 (“Multipliers in the 3-4 range are common in lodestar
20
     awards for lengthy and complex class action litigation.”) (citations omitted). The fee amount Counsel
21
     request in this Motion is significantly less that the cumulative lodestar in this case as one would expect
22
     in the event of the initial settlements. The lodestar cross-check thus confirms that Counsel’s
23
     $8,150,000 fee request is reasonable and should be awarded as requested.
24
     III.     THE COURT AWARDS DPPS’ COUNSEL $3,000,000 AS PARTIAL
25            REIMBURSEMENT FOR THEIR COSTS ADVANCED THROUGH SEPTEMBER 30,
              2016
26
              The Court grants Counsel their request for a reimbursement of expenses they have incurred as
27
     of September 30, 2016, in the amount of $3,000,000. This amount is to be paid from the Settlement
28
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 1   Fund. This amount is a fraction of the amounts incurred to date. It is appropriate to reimburse attorneys

 2   prosecuting class claims on a contingent basis for “reasonable expenses that would typically be billed to

 3   paying clients in non-contingency matters,” i.e., costs “incidental and necessary to the effective

 4   representation of the Class.” See Harris v. Marhoefer, 24 F.3d 16, 19 (9th Cir. 1994); In re Omnivision

 5   Techs., 559 F. Supp. 2d at 1048. Reasonable reimbursable litigation expenses include: those for document

 6   production, experts and consultants, depositions, translation services, travel, mail and postage costs. See

 7   In re Media Vision Tech. Sec. Litig., 913 F. Supp. 1362, 1366 (N.D. Cal. 1995) (court fees,

 8   experts/consultants, service of process, court reporters, transcripts, deposition costs, computer

 9   research, photocopies, postage, telephone/fax); Thornberry v. Delta Air Lines, 676 F.2d 1240, 1244 (9th

10   Cir. 1982) (travel, meals and lodging), remanded on other grounds, 461 U.S. 952(1983). Under the

11   common fund doctrine, plaintiffs’ counsel should receive reimbursement of all reasonable out-of-pocket

12   expenses and costs in prosecution of the claims and in obtaining a settlement. Vincent v. Hughes Air

13   West, Inc., 557 F.2d 759 (9th Cir. 1977). The Court finds that the advanced expenses set forth in the

14   Motion and Lead Counsel’s Declaration were reasonable and necessarily incurred in connection with

15   the Direct Purchaser Plaintiffs’ prosecution of this action to date.

16

17            IT IS SO ORDERED.

18   Dated:

19                                                                     HON. JAMES DONATO
                                                                       United States District Judge
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